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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                   Plaintiff,                              Case No. 18-cr-567 (VSB)

 V.

 CHRISTOPHER C. COLLINS, et al.

                   Defendants.



          DEFENDANT STEPHEN ZARSKY'S WAIVER OF APPEARANCE FOR
                       MAY 3, 2019 ORAL ARGUMENT

         Pursuant to Rule 4 3 of the Federal Rules of Criminal Procedure, Defendant Stephen

Zarsky waives his right to be present in open court for the May 3, 2019 oral argument.

         Mr. Zarsky requests that the Court proceed on May 3, 2019 in his absence; agrees that his

interests will be deemed represented by the presence of his attorneys, the same as if he were

personally present; and further agrees to be present in Court ready for trial any date that the

Court sets in his absence.

         Mr. Zarsky further acknowledges that he has been informed of his rights under Title 18

U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorneys to set times and delays

under the Act without being personally present.

Dated:             Summit, NJ
                   May 2, 2019


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I agree with and consent to my client's waiver of appearance.

Dated:        NewYork,NY
              May 2, 2019            DUANE MORRIS LLP


                                            By:      Isl Mauro M Wolfe
                                                     Mauro M. Wolfe
                                                     Amanda Bassen
                                                     1540 Broadway
                                                     New York, New York 10036
                                                     (212) 692-1000
                                                     Attorneys for Defendant Stephen Zarsky




SO ORDERED:

Dated:        New York, New York
              May_, 2019
                                                     VERNON S. BRODERICK, U.S.D.J .




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